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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Western Division

Law Enforcement Health Benefits Inc.
                                            Plaintiff,
v.                                                          Case No.: 3:21−cv−50215
                                                            Honorable Iain D. Johnston
Stephen Welch, et al.
                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 1, 2022:


        MINUTE entry before the Honorable Iain D. Johnston: The plaintiff has filed a
notice of voluntary dismissal without prejudice. Dkt. 77. Because no defendant has
answered or moved for summary judgment, the Court construes the notice as being one
under Fed. R. Civ. P. 41(a)(1)(A)(i) and dismisses the case without prejudice. All pending
motions are deadlines are stricken. Civil case terminated. (yxp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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